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 5
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 6   EVERQUOTE, INC.
 7
 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   TODD FRIEDMAN, individually and on        Case No. 2:16-cv-01269-SVW-FFM
     behalf of a class of similarly situated
12   individuals,                              REPLY TO PLAINTIFF’S
                                               OPPOSITION TO MOTION FOR
13                             Plaintiff,      SANCTIONS
14         vs.                                 Judge:        Stephen V. Wilson
15   EVERQUOTE, INC., D/B/A                    Hearing Date: June 6, 2016
     CHEAPERAUTOCOVERAGE.COM,
16                                             Place:     312 N Spring Street
                               Defendant.                 Los Angeles, CA 90012
17                                                        Courtroom No. 6
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            REPLY TO PLAINTIFF’S OPPOSITION TO MOTION FOR SANCTIONS
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2         EverQuote, Inc. (“EverQuote”) hereby submits the following Reply in support
 3   of its Motion for Sanctions Pursuant to Rule 11 of the Federal Rules of Civil
 4   Procedure (“Motion”).
 5   I.    INTRODUCTION
 6         In opposition to EverQuote’s Rule 11 Motion, Mr. Friedman summarily argues
 7   that this action is meritorious because the allegations in the First Amended Complaint
 8   (“FAC”) support the theory that EverQuote is vicariously liable for violations of the
 9   Telephone Consumer Protection Act. Mr. Friedman’s argument misses the point.
10   Regardless of whether his allegations are sufficient to survive a Rule 12(b)(6) motion,
11   they are baseless. EverQuote provided Mr. Friedman and his counsel documents
12   demonstrating that it cannot be held directly or vicariously liable for transmission of
13   the text message at issue. It appears that Mr. Friedman and his attorney either ignored
14   the evidence EverQuote provided, or at best failed to conduct a reasonable inquiry as
15   to the merits of the claims against EverQuote before filing the FAC. Accordingly,
16   EverQuote respectfully submits that this Honorable Court must grant the Rule 11
17   Motion to deter Mr. Friedman and his counsel from making unsubstantiated
18   allegations in court documents.
19   II.   PLAINTIFF DID NOT CONDUCT A REASONABLE FACTUAL
20         INQUIRY BEFORE FILING THE FIRST AMENDED COMPLAINT
21         The Opposition describes at length the inquiry Mr. Friedman and his counsel
22   undertook before filing the original complaint.      See Opp. at 7-9.     By contrast,
23   however, Mr. Friedman and his counsel do not describe (and did not engage in) a
24   similar inquiry before filing the FAC. While it may have been reasonable for Mr.
25   Friedman to believe that EverQuote was liable in some way at the time he filed the
26   original complaint, it was not reasonable to maintain that belief after he received the
27   Click Cash Management (“CCM”) Services Agreement and Service Order, which
28   demonstrate that EverQuote did not send the text message at issue and in fact strictly
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 1   prohibit the distribution of any advertisements or materials via text messages. See
 2   Motion for Sanctions at 6-9. After receiving such evidence, it was incumbent upon
 3   Mr. Friedman and his counsel to conduct a reasonable inquiry into whether any facts
 4   exist to support their supposition that EverQuote is vicariously liable for the
 5   transmission of the text message at issue. Indeed, Mr. Friedman concedes that “Rule
 6   11 is intended to deter baseless filings in district court and imposes a duty of
 7   ‘reasonable inquiry’ so that anything filed with the court is ‘well grounded in fact,
 8   legally tenable, and not interposed for any improper purpose.’” See Opp. at 11 (citing
 9   Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990)).
10            a. Mr. Friedman’s Allegations Are Not Well Grounded In Fact.
11         The presentation of a pleading, such as the FAC, to the court certifies that the
12   factual contentions in such pleading have “evidentiary support” to the best of the
13   person’s knowledge and belief “formed after an inquiry reasonable under the
14   circumstances.” Fed. R. Civ. P. 11(b)(3). A reasonable inquiry requires a party to
15   seek credible information, consisting either of direct evidence or reasonable inferences
16   from other evidence, rather than proceed on mere suspicions or supposition. See
17   California Architectural Bldg. Products, Inc. v. Franciscan Ceramics, Inc., 818 F.2d
18   1466, 1472 (9th Cir. 1987). Here, the allegations in Mr. Friedman’s FAC regarding
19   vicarious liability are not the product of the requisite reasonable inquiry and instead
20   are factually unsupported.
21         Mr. Friedman asserts that “[his] claims have merit, were filed in good faith,
22   upon the belief that Everquote either sent the messages itself, hired someone to do it,
23   knew about the fact that an unauthorized agent was doing it, and/or that a reasonable
24   consumer in receiving these messages, would reasonably believe that the message was
25   transmitted by an authorized agent of Everquote.” Opp. at 20. Specifically, in the
26   FAC Mr. Friedman alleges:
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 1             Defendant Click Cash sent solicitation text messages on behalf of
 2               Defendant EverQuote in order to generate leads for Defendant
 3               EverQuote. FAC ¶¶ 11, 14.
 4             Defendant Click Cash was acting in its capacity of an agent of Defendant
 5               EverQuote when it sent the February 9, 2016 text message to Plaintiff’s
 6               telephone number. FAC ¶ 15.
 7             EverQuote maintains the ability to control numerous aspects of CCM’s
 8               contractual relationship, and knew, or should have known that CCM was
 9               using ATDS technology for the purpose of marketing EverQuote’s
10               services. FAC at ¶ 17.
11   The documents EverQuote provided Mr. Friedman explicitly contradict these
12   allegations. First, the Services Agreement and Service Order between EverQuote and
13   CCM explicitly state that CCM is never authorized to send any text messages on
14   EverQuote’s behalf. See Motion at 2-3; Revesz Decl., Ex. A. ¶ 3.5 & Ex. B.1 Second,
15   the Services Agreement also explicitly negates that CCM is EverQuote’s agent. See
16   Motion at 8; Revesz Decl., Ex. A. ¶ 13.2. Third, because the Services Agreement and
17   Service Order limited the services CCM was contracted to provide to email marketing
18   and prohibit text messages and calls, EverQuote did not know, nor should it have
19   known, and still does not know whether CCM was using ATDS technology for the
20   purpose of marketing EverQuote’s services.
21   1
       Mr. Friedman relies on Mey v. Monitronics Int’l, Inc., 959 F. Supp. 2d 927 (N.D. W.
22   V.A 2013) and Siding and Insulation Co. v. Alco Vending, Inc., Case No. 15-3551
     (6th Cir. May 9, 2016) to suggest that the use of a defendant’s trademark in the
23   message at issue is sufficient to show that the message was sent on defendant’s behalf.
     However, both cases are inapposite for several reasons. First, in Mey, unlike in this
24   case, defendant’s agreement with the third party vendor enabled the vendor to hold
     itself out as an “authorized dealer.” 959 F. Supp. 2d at 932. By contrast, the Services
25   Agreement with CCM only authorizes CCM to market services via email (i.e.
     consumers cannot purchase the services directly from CCM). In Siding, unlike in this
26   case, the defendant contracted a third party to send facsimiles to consenting
     businesses. Case No. 15-3551 at 2. Here, EverQuote’s contract with CCM explicitly
27   prohibits transmission of text messages. Moreover, the Sixth Circuit distinguished
     Siding from cases involving telemarketing calls and specifically stated, “vicarious
28   liability and the federal common law of agency do not control the outcome of this
     case.” Id. at 13-14. Accordingly, Siding is not applicable here.
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 1          In light of evidence that Mr. Friedman’s contentions are not warranted and
 2   without credible evidence of his own,2 Mr. Friedman was obliged to cease his pursuit
 3   of his claims against EverQuote. Ridder v. City of Springfield, 109 F.3d 288, 293 (6th
 4   Cir. 1997) (“if evidentiary support is not obtained after a reasonable opportunity for
 5   further investigation or discovery, the party has a duty under the rule not to persist
 6   with that contention”) (citing Fed. R. Civ. P. 11 Advisory Committee Notes, 146
 7   F.R.D. 585-86). Instead, Plaintiff and his counsel ignored EverQuote’s efforts to
 8   correct his false allegations and filed a FAC. Mr. Friedman and his counsel’s failure
 9   to undertake a factual inquiry into whether EverQuote ratified CCM’s behavior or
10   cloaked it with apparent authority runs afoul of their duty under Rule 11.
11   III.   PLAINTIFF FILED THE FIRST AMENDED COMPLAINT FOR AN
12          IMPROPER PURPOSE
13          Based on Mr. Friedman’s and his counsel’s actions, EverQuote is entitled to an
14   inference that they brought this lawsuit for an improper purpose. Mr. Friedman is not
15   a simple consumer. Rather, he is an attorney who graduated from Loyola Law
16   School, and has filed numerous TCPA class action law suits in California. Where an
17   experienced lawyer asserts meritless claims, “a strong inference arises that [his]
18   bringing of an action . . . was for an improper purpose.” Huettig & Schromm, Inc. v.
19   Landscape Contractors Council of N. Calif., 790 F.2d 1421, 1427 (9th Cir. 1986).
20   Accordingly, Rule 11 sanctions are warranted in this case.
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22     Mr. Friedman and his counsel had the opportunity to request additional information
     from EverQuote’s counsel and conduct the requisite reasonable inquiry into the
23   factual basis for their allegations. Instead of engaging in a meaningful dialogue and
     exchange of information, Mr. Friedman’s counsel sent a letter to EverQuote’s counsel
24   quoting lengthy passages from the FCC’s Declaratory Order: In the Matter of The
     Joint Petition Filed by Dish Network, LLC, et al., CG Docket No. 11-50 (FCC 13-54),
25   28 FCC Rcd 6574, 6582 (2013) and black letter law on vicarious liability. However,
     the letter did not identify (or seek) any facts to support the allegation that EverQuote
26   could be held vicariously liable for transmission of the text message at issue. By
     contrast, plaintiff’s counsel in Yvonne Lester v. Everquote, Inc., Case No. 1:16-cv-
27   10651-MLW, is conducting a reasonable inquiry into the underlying facts of the case
     before pursuing protracted litigation and will likely voluntarily dismiss the action filed
28   in Massachusetts District Court.
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 1   IV.   CONCLUSION
 2         For the foregoing reasons, EverQuote respectfully requests that this court grant
 3   its Rule 11 Motion, dismiss the FAC with prejudice, and award the costs and fees
 4   incurred by EverQuote in preparing and filing this motion.
 5
     Dated: May 23, 2016               Respectfully submitted,
 6
                                       MINTZ, LEVIN, COHN, FERRIS, GLOVSKY
 7                                     AND POPEO, P.C.
 8
 9                                     Joshua Briones
                                       Attorneys for Defendant
10                                     EVERQUOTE, INC.
                                       D/B/A CHEAPERAUTOCOVERAGE.COM
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